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            EXHIBIT A
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    ·1· · · · · · · · · ·UNITED STATES DISTRICT COURT

    ·2· · · · · · · FOR THE EASTERN DISTRICT OF WASHINGTON

    ·3

    ·4· ·________________________________________________________

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    · · ·PATRICK FLEETWOOD, et. al.
    ·6

    ·7

    ·8· · · · · · · · Plaintiff,

    ·9
    · · · · · · · · · · · · · · · ·Civil Action No. 2:20-cv-0355-SAB
    10

    11· · · · vs.

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    13
    · · ·WASHINGTON STATE UNIVERSITY,
    14

    15

    16· · · · · · · · Defendant.

    17· ·________________________________________________________

    18
    · · · · · · · · AUDIO ZOOM DEPOSITION OF DAN PATTERSON
    19
    · · · · · · · · · · · · · · MARCH 31, 2022
    20
    · · ·________________________________________________________
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    25 Reported By: d'Anne Myers, CCR No. 2478


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    ·1· · · · · · · ·THE COURT REPORTER:· On the record.· My name is
    ·2· ·d'Anne Meyers, Certified Court Reporter, Washington License
    ·3· ·No. 2478.· Do all Counsel stipulate to the taking of this
    ·4· ·audio Zoom deposition in this matter?
    ·5· · · · · · · ·MR. CROTTY:· Yes.
    ·6
    ·7
    ·8· · · · · · · · · · · · · DAN PATTERSON,
    ·9· · · · · · · · called as a witness at the request
    10· · · · · · · · ·of the Plaintiff herein, having
    11· · · · · · · · · been first duly sworn on oath,
    12· · · · · · · · · · ·did testify as follows:
    13· · · · · · · · · · THE WITNESS:· To my knowledge,
    14· · · · · · · · · · · ·it will be the truth.
    15
    16· · · · · · · · · · · · · EXAMINATION
    17· ·BY MR. CROTTY:
    18· ·Q· ·Sir, for the record, the record being this transcript
    19· ·that's going to be created, can you please state your name.
    20· ·A· ·My name is Dan, middle initial B, last name Patterson.
    21· ·I am the Director of Operations for the 8th Brigade U.S.
    22· ·Army Cadet Command located at Joint Base Lewis McChord.
    23· ·Q· ·Have you ever had your deposition taken before?
    24· ·A· ·Not that I remember.
    25· ·Q· ·I'll briefly kind of explain the process.· We have the


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    ·1· ·A· ·That's what it says, so correct.
    ·2· ·Q· ·And then you write on the third sentence of this e-mail:
    ·3· ·As I mentioned to you on the phone, the only reason my name
    ·4· ·is on those records is I had the ROTC Program at WSU send me
    ·5· ·the records as an intermediary ask them to provide to the
    ·6· ·State AG's office responding to their subpoena for records.
    ·7· · · · · · · ·And my question to you is what do you mean by
    ·8· ·records?
    ·9· ·A· ·Cadet files.· The transcript -- it would have included
    10· ·the transcripts of -- cadet files normally include training
    11· ·record, grades, all that stuff.· But I believe in this case
    12· ·due to the record of his -- I don't remember what was in the
    13· ·packet.· I never read the packet.· But more than likely it
    14· ·included the results of his disenrollment action.
    15· · · · · · · ·THE COURT REPORTER:· Mr. Patterson, you're going
    16· ·to have to speak up louder and clearer.
    17· · · · · · · ·THE WITNESS:· Can you hear me now better?
    18· · · · · · · ·THE COURT REPORTER:· Please keep projecting your
    19· ·voice, please.
    20· ·A· ·I believe his disenrollment, the results of the
    21· ·disenrollment action that was completed on Cadet Fleetwood
    22· ·or he was disenrolled from ROTC for having been -- and I
    23· ·don't remember the exact whatever term they used --
    24· ·separated from Washington State University.
    25· · · · · · · ·Now, whether that included -- I don't even


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    ·1· ·and then the cadet may or it may be assuming they were
    ·2· ·disenrolled the cadet -- and they were scholarshipped and
    ·3· ·the cadet -- and a bill would be prepared and they would
    ·4· ·incur a debt to the government assuming it was a
    ·5· ·disenrollment for some type of action that was adverse.· If
    ·6· ·a cadet were injured and disenrolled for medical reasons,
    ·7· ·they would not owe the money back.· Does that explain it?
    ·8· ·Over.
    ·9· ·Q· ·It does.· Thank you.· Then there's a reference, again,
    10· ·I'm referring back to this March 25, 2022 e-mail, this
    11· ·packet of material.· Do you see where that's highlighted?
    12· ·A· ·Yes, I do.
    13· ·Q· ·And can you tell us what you mean by this packet of
    14· ·materials?
    15· ·A· ·When we were subpoenaed for the records of this
    16· ·Disenrollment Board, and three lines up where I said what
    17· ·WSU sent me, I believe when I wrote that I found out the
    18· ·next day that we have an automated system called ACA.· And
    19· ·don't ask me what the abbreviation or the acronym stands
    20· ·for.· I know, Automated Cadet Action.· That's what it stands
    21· ·for.· And the records get passed, like from Washington State
    22· ·if they were doing something they would put it in the system
    23· ·and my clerks here at JBLM could see -- have copies.· So it
    24· ·turns out, I believe, instead of having Washington State
    25· ·send me records of the Disenrollment Board I went next door


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    ·1· ·to my personnel shop, my Cadet Action shop, and they just
    ·2· ·downloaded the exact same thing that the Washington State
    ·3· ·had there, so they just printed it all out.· I put it into a
    ·4· ·folder and then I prepared it.· But then I realized --
    ·5· ·you'll notice if you go a couple lines down -- there is a
    ·6· ·line that says Tim and Ingrid.· Those are lawyers at Cadet
    ·7· ·Command.· And that was when I responded to you, Mr. Crotty,
    ·8· ·I realized I probably need to ask the Cadet Command and they
    ·9· ·said well as soon as we get the subpoena so I packaged
    10· ·these.· I had my guy package it.· He gave me a package of
    11· ·the records.· I set it on my coffee table in my office.
    12· ·Never read it, didn't read it.· And contacted then the state
    13· ·representative when I got permission from Cadet Command and
    14· ·they came over and picked up the packet and took my name as
    15· ·the custodian of the records because it was sitting on my
    16· ·coffee table and that was how I became involved in this
    17· ·case.· Over.
    18· ·Q· ·I'm going to now move to Exhibit No. 2.
    19· · · · · · · · · · · · · ·(Exhibit No. 2 was marked.)
    20· ·Q· ·(BY MR. CROTTY)· This will be the only other exhibit to
    21· ·your deposition.· Can you tell us what we are looking at
    22· ·here?
    23· ·A· ·No.· I don't remember.· Can you scroll.· Okay (Reading).
    24· ·That may have been the Declaration they had me sign about
    25· ·giving them the records when they picked them up.· To be


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    ·1· ·disenrolled from ROTC and explaining his rights.· It's a
    ·2· ·multi-page document and, again, it's -- you'll notice on
    ·3· ·Paragraph 1 it says:· As your Professor of Military Science
    ·4· ·or designee.· I would assume at the bottom this is probably
    ·5· ·signed by Matt Sheftic, Lieutenant Colonel Matt Sheftic, who
    ·6· ·is the -- oh no.· Brendan Hobbs.· Okay.· That was the former
    ·7· ·PMS at Arizona -- Washington State University, who has since
    ·8· ·departed and has been replaced by Lieutenant Colonel
    ·9· ·Sheftic.· So this is at least a couple years old. I
    10· ·remember the date.· Go back up.
    11· ·Q· ·Do you know who specifically made the modifications to
    12· ·the boilerplate that you describe for Exhibit 3?
    13· ·A· ·I would assume the HRA.· That stands for Human Resource
    14· ·and Assistant, the clerk that maintains records at
    15· ·Washington State, they prepared this there I assume.· We're
    16· ·talking three years ago almost.
    17· ·Q· ·Just so I'm clear.· You don't know for a fact who made
    18· ·the, I guess, on boilerplate to Exhibit 3 --
    19· ·A· ·I do not know but I would assume it was done at the
    20· ·University because Lieutenant Colonel Hobbs signed it, I
    21· ·would assume, therefore, that it is the HRA.· Again, which
    22· ·stands for Human Resource Assistant.· Over.
    23· ·Q· ·I'm going to direct you to Paragraph 1 of Exhibit 3 and
    24· ·there is a reference to Washington State University Policy
    25· ·prohibiting discrimination, sexual harassment, and sexual


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    ·1· ·misconduct, Executive Policy 15, EP15.· Do you see that?
    ·2· ·A· ·Yep.
    ·3· ·Q· ·Do you have any idea what EP15 is?
    ·4· ·A· ·Not the slightest.
    ·5· ·Q· ·Do you know if Washington State University ROTC planned
    ·6· ·on convening a Disenrollment Board before Washington State
    ·7· ·University to determine whether Mr. Fleetwood violated EP15?
    ·8· ·A· ·No, I do not.
    ·9· ·Q· ·To your knowledge, was the fact the Washington State
    10· ·University ultimately determined that Mr. Fleetwood violated
    11· ·EP15 the reason WSU Army ROTC started the disenrollment
    12· ·process?
    13· ·A· ·I don't know if that was the reason they started it but
    14· ·that was -- from what I remember or what I believe I think
    15· ·and, again, I couldn't testify to this, that because the
    16· ·University separated the individual that, therefore, he was
    17· ·no longer a student and, therefore, he was automatically in
    18· ·breach of his contract with us and, therefore, we had no
    19· ·choice but to initiate disenrollment from the ROTC side of
    20· ·the program because he was no longer a student and could not
    21· ·complete ROTC.· Over.
    22· ·Q· ·We're now going to move to Exhibit 4 of your
    23· ·Declaration.· Can you tell us what Exhibit 4 is, if you
    24· ·know?· A· ·Oh, yes.· That is the cover page, the first page
    25· ·of the Disenrollment Board that lists who the members of the


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    ·1· ·Q· ·Do you see where there's different check marks on some
    ·2· ·of these boxes?
    ·3· ·A· ·Yes.
    ·4· ·Q· ·Do you know who checked the boxes --
    ·5· ·A· ·I would --
    ·6· · · · · · · ·THE COURT REPORTER:· Mr. Patterson, hold on.· He
    ·7· ·didn't finish.
    ·8· ·Q· ·(BY MR. CROTTY)· Let me ask again so we have what we
    ·9· ·lawyers call a clear record.· Do you know who checked the
    10· ·Yes boxes and the No boxes and the NA boxes on the form
    11· ·that's attached as Exhibit 4 to your Declaration?
    12· ·A· ·No.· But a very valid assumption would be probably one
    13· ·of the Board members, most likely Colonel Stafford or unless
    14· ·he tasked one of the captains to prepare the form.· But I
    15· ·believe if you go a couple pages down you'll find Stafford
    16· ·is probably the one that signed it.· Yes.· All the Board
    17· ·members signed it there.· There you go.· The upper three
    18· ·signatures there.· Somebody on the Board.
    19· ·Q· ·But you don't know who specifically?
    20· ·A· ·No way to know from my level and I doubt they would
    21· ·remember.· Over.
    22· ·Q· ·Do you know if this unknown person who checked those
    23· ·boxes was using any type of system to, I guess, inform
    24· ·themselves on how they go about checking Yes or No or NA?
    25· ·A· ·(Reading)· No, I don't know.· Any Board members are told


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    ·1· ·at any time they have questions during the proceedings they
    ·2· ·can contact a lawyer at Cadet Command to ask for advice, but
    ·3· ·something on this administrative portion, pretty pro forma,
    ·4· ·I would assume.· No idea.
    ·5· ·Q· ·I want to take you to Paragraph 2D where it says:· Are
    ·6· ·copies, descriptions or depictions (open paren) if
    ·7· ·substituted for real documentary evidence (close paren)
    ·8· ·properly authenticated and is the location of the original
    ·9· ·evidence indicated.
    10· · · · · · · ·Do you see where I just read?
    11· ·A· ·Yes.
    12· ·Q· ·Did you see how it's checked NA?
    13· ·A· ·Yes.
    14· ·Q· ·Do you have an understanding as to why --
    15· ·A· ·No.
    16· ·Q· ·-- NA is checked there?
    17· ·A· ·No.· I would assume because they made no -- I have no
    18· ·idea.
    19· ·Q· ·I want to take you to Paragraph 9D which says:· Was the
    20· ·Respondent provided a copy of all unclassified documents in
    21· ·the case file.
    22· · · · · · · ·And my question to you is do you know what is
    23· ·meant by case file?
    24· ·A· ·When a disenrollment action is filled, for whatever
    25· ·reason, any evidence we have, and this could have been


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    ·1· ·the Board President, was the PMS at Eastern at the time.
    ·2· ·But this is his report to the Commander of the Brigade, at
    ·3· ·the time Colonel Moye, Vanessa Moye, who has since, PCS
    ·4· ·retired in the last few years, what the Board found as the
    ·5· ·results.
    ·6· ·Q· ·Do you have any knowledge of the system that was used by
    ·7· ·Lieutenant Colonel Stafford to create Exhibit 5 to your
    ·8· ·Declaration?
    ·9· ·A· ·No.· I'm going to be smart and say the system they used
    10· ·was Word I'm sure on the computer to create the document.
    11· ·But no.· Are they provided a sample format?· I don't know on
    12· ·that one.· But there are -- there's a Cadet Command
    13· ·regulation on how to conduct it and then the documents,
    14· ·before they come to us, to Colonel Moye, Colonel Stafford
    15· ·would have sent the results of the Board to a Cadet
    16· ·Commander to review for legal sufficiency to make sure that
    17· ·the Board has followed the administrative processes
    18· ·correctly.· So the Board prepares it, they send everything
    19· ·first to the lawyers at Cadet Command.· Again, that's at
    20· ·Fort Knox.· Then it comes back to the Board President, then
    21· ·he signs it, finalizes it, and sends it to us.· And, again,
    22· ·probably in that system I mentioned automated ACA, probably
    23· ·not hard copy going back and forth.· Over.
    24· ·Q· ·Have you ever had any conversation with Lieutenant
    25· ·Colonel Stafford regarding the Exhibit 5 that we're looking


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    ·1· ·at here?
    ·2· ·A· ·No.
    ·3· ·Q· ·Do you know then for a fact whether Lieutenant Colonel
    ·4· ·Stafford utilized the process you just described in
    ·5· ·preparing Exhibit 5?
    ·6· ·A· ·It is an educated assumption.
    ·7· ·Q· ·But you do not know for a fact; correct?
    ·8· ·A· ·I personally do not know.· It may be trackable in ACA as
    ·9· ·to what the steps were.
    10· ·Q· ·Just so I'm clear.· You have not gone into ACA to
    11· ·confirm or deny whether those steps have occurred?
    12· ·A· ·That's correct.
    13· ·Q· ·Do you know if the creator of Exhibit 5 was acting under
    14· ·a duty of accuracy that the Army would rely upon in its
    15· ·regular course and scope of the Army's business?
    16· ·A· ·I'm not sure I understand precisely what you are asking.
    17· ·Over.· He was appointed on orders.· He receives legal
    18· ·guidance and counsel before the Board Presidents are told to
    19· ·contact for advice on how to proceed.· There is a pretty pro
    20· ·forma set of documents that are done so this is the system
    21· ·that is set up.· It's very normal of the hundreds that are
    22· ·done.· Over.
    23· ·Q· ·Do you know one way or the other though whether
    24· ·Lieutenant Colonel Stafford was acting under what's called a
    25· ·duty of accuracy in preparing Exhibit 5?


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    ·1· ·States Army and, therefore, one would have to make the
    ·2· ·assumption that he is acting in the true faith and depth of
    ·3· ·the appointment of his orders and fulfillment of his duties.
    ·4· ·Over.
    ·5· ·Q· ·I'm going to take you to what begins at Page 3 of
    ·6· ·Exhibit 5.· First off, can you tell us what we're looking at
    ·7· ·here on Page 3 of Exhibit 5 to your Declaration?
    ·8· ·A· ·It is rough -- very easy.· Please see the note
    ·9· ·underneath the Cadet Fleetwood Disenrollment title.· This is
    10· ·a rough transcript based upon notes from probably a captain
    11· ·who is appointed as a Board recorder without a voice
    12· ·recording, of the procedures in the Board during the conduct
    13· ·of the Disenrollment Board.
    14· ·Q· ·I'm going to take you to what's been -- and I'm
    15· ·referring to the bottom right-hand to what we lawyers call
    16· ·Bate numbers.· So it's Bate No. 04010071 of Exhibit 5.· Then
    17· ·there is an entry that says Lieutenant Colonel Stafford and
    18· ·then there's Exhibit 1 through 6.· Do you see that?
    19· ·A· ·Yes, I do.
    20· ·Q· ·Do you know if the creators of Exhibits 1, 2, 3 through
    21· ·6 were acting under a duty of accuracy, as you just
    22· ·described it, in preparing any of those exhibits?
    23· · · · · · · ·MS. LEFING:· Objection.
    24· ·Q· ·(BY MR. CROTTY)· Go ahead and answer.
    25· ·A· ·I would assume so.· Those are the first two people,


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    ·1· ·that's just a sworn statement from fellow cadets.· And then
    ·2· ·there is a counseling form from the PMS at the time
    ·3· ·Lieutenant Colonel Hobbs.· So I would assume that a cadet is
    ·4· ·making a sworn statement, that they are making a valid sworn
    ·5· ·statement that it's accurate to the best of their knowledge,
    ·6· ·unless the other ones they appear to be counseling forms.
    ·7· ·Over.
    ·8· ·Q· ·I want to reference or I want to direct you to where it
    ·9· ·says -- again, we're still on Page 04010071 of Exhibit 5,
    10· ·which also references Exhibit 5, which says: Washington
    11· ·State University Investigation Report, Office of Equal
    12· ·Opportunity, Complaint No. 2019-21, June 13, 2019.· Do you
    13· ·see where I just read?
    14· ·A· ·Yes, I do.
    15· ·Q· ·Do you know who created that document?
    16· ·A· ·I would assume Washington State University, Office for
    17· ·Equal Opportunity.
    18· ·Q· ·Do you know for a fact whether the creator of this
    19· ·document was acting under a duty to report that information
    20· ·accurately?
    21· · · · · · · ·MS. LEFING:· Objection --
    22· ·A· ·I --
    23· · · · · · · ·THE COURT REPORTER:· Hold on.· One at a time.
    24· ·We have an objection.
    25· ·A· ·I have absolutely no knowledge.· They are University


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    ·1· ·employees.
    ·2· ·Q· ·(BY MR. CROTTY)· Do you know that Exhibit 1 and Exhibit
    ·3· ·2, which are listed on Page 04010071, do you know that those
    ·4· ·first two exhibits, the Kostecka sworn statement and the
    ·5· ·Smithline sworn statement, do you know that they were used
    ·6· ·by Washington State Office of Equal Opportunity, OEO, when
    ·7· ·investigating Patrick Fleetwood?
    ·8· ·A· ·No idea.· Not knowing the dates of when the Washington
    ·9· ·State University OEO Office did whatever they did, I would
    10· ·have to compare that and even then I wouldn't know whether
    11· ·or not they were used.· I don't know if these were done to
    12· ·prep the Board well after everything is done by the school
    13· ·or before, so no idea.
    14· ·Q· ·And then this Exhibit 3 on this Page 04010071, there's a
    15· ·reference to a developmental counseling dated January 22,
    16· ·2019, directing a commander's inquiry into the sexual
    17· ·harassment allegation against Cadet Fleetwood.· And outside
    18· ·of Washington State University's investigation into Mr.
    19· ·Fleetwood, are you aware of a separate commander's inquiry?
    20· ·A· ·I would assume the PMS made an inquiry.· But no, I'm not
    21· ·-- I'm not familiar.· This case is three years old, I don't
    22· ·remember.· Could I see that exhibit, maybe I can help?
    23· ·Q· ·Sure.· We'll go to Exhibit 3 of Exhibit 5.· Just for the
    24· ·record, we're now on Exhibit 3 of Exhibit 5 to your
    25· ·Declaration, which is Page 04010096.· Do you see where is


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    ·1· ·written under Part 3, Summary of Counseling, it says:· Cadet
    ·2· ·Fleetwood, I received a formal complaint against you from
    ·3· ·fellow cadets in reference to the Army SHARP Program and the
    ·4· ·WSU Title IX Policy and then Paragraph 1 says:· I have
    ·5· ·directed a Commander's Inquiry and requested a formal Title
    ·6· ·IV Investigation from the Title IV coordinator on campus
    ·7· ·with regards to incidents between December 2018 and January
    ·8· ·2019.
    ·9· · · · · · · ·Do you see that?
    10· ·A· ·Yes.
    11· ·Q· ·Do you have an understanding as to what is that Title IV
    12· ·Investigation conducted here by the coordinator on campus?
    13· ·A· ·I believe it should say Title IX.· I've never heard of
    14· ·that title.· It may have been a different title.
    15· ·Q· ·I haven't either.
    16· ·A· ·I believe it's a Title IV, a typo.· So I believe what --
    17· ·I believe what occurred in this case -- and this is purely
    18· ·speculation -- that the PMS got complaints from whoever,
    19· ·from some cadet, and for this he had to probably turn it
    20· ·over to the Title IX office because these are students.
    21· ·First actions are always taken by the University's Title IX
    22· ·office.
    23· ·Q· ·To your knowledge, would the Title IX office in this
    24· ·instance be the Washington State University OEO office?
    25· · · · · · · ·MS. LEFING:· Objection.


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    ·1· ·A· ·I am not sure of their structure.· It's a Washington
    ·2· ·State University office.· Who it is under at Washington
    ·3· ·State University I have no idea.· That's just an
    ·4· ·organizational structure.
    ·5· ·Q· ·(BY MR. CROTTY)· Setting aside that you don't know the
    ·6· ·organizational structure at Washington State University, can
    ·7· ·this, I guess Exhibit 3 to Exhibit 5, could that be
    ·8· ·interpreted that Washington State University ROTC was going
    ·9· ·to have some sort of office from Washington State University
    10· ·conduct its investigation and then WSU ROTC would make its
    11· ·next steps determinations off of that?
    12· · · · · · · ·MS. LEFING:· Objection; totally speculation and
    13· ·lack of knowledge.
    14· ·Q· ·(BY MR. CROTTY)· Go ahead and answer.
    15· ·A· ·That would be the normal procedure at any one of our
    16· ·schools when a SHARP incident was brought.· The cadet brings
    17· ·it up.· We normally turn it over to the school's Title IX
    18· ·office and we'll wait their results in most cases.· Can I
    19· ·say for a hundred percent that was done in this one?
    20· ·I would say no, but that is the normal procedure for most.
    21· ·Q· ·Again, the normal procedure being that there's a
    22· ·complaint against a cadet, the University investigates, and
    23· ·then ROTC takes action based on the investigation?
    24· ·A· ·Or --
    25· · · · · · · ·MS. LEFING:· Objection.


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    ·1· ·A· ·-- in some cases, not this -- I don't know on this one
    ·2· ·at all.· Again, but in some cases we've gotten results and
    ·3· ·then we have conducted our own inquiry by appointing a 15-6
    ·4· ·Officer to look at some things.· I have no idea whether that
    ·5· ·was done in this case or not.
    ·6· ·Q· ·(BY MR. CROTTY)· That was going to be my next question.
    ·7· ·If there was a fifteen dash six Officer appointed regarding
    ·8· ·the allegations against Mr. Fleetwood, would that
    ·9· ·information be put in the Fleetwood file that you earlier
    10· ·testified about?
    11· ·A· ·If one was conducted, the cadet, when they are notified,
    12· ·are given one hundred percent of every document.· Yes, it
    13· ·would have been there.· So in the absence of one it was not
    14· ·done.
    15· ·Q· ·Have you ever seen any document relating to a 15-6
    16· ·investigation that was done regarding any of the allegations
    17· ·against Mr. Fleetwood?
    18· ·A· ·Negative.· I don't even know what the allegations
    19· ·against Mr. Fleetwood are.· I did not read the specifics. I
    20· ·can tell you from this document it's obviously a SHARP
    21· ·incident of some type.
    22· ·Q· ·Can you briefly tell us what a 15-6 investigation is?
    23· ·A· ·15-6 investigations are an officer is appointed on
    24· ·orders to look into the events of some kind of issue.· It
    25· ·could be anything from an accident to an investigation or an


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    ·1· ·allegation.· There's an Army regulation, Army Regulation
    ·2· ·15-6 that covers this.· They work with the lawyers.· They
    ·3· ·turn it in and it could be used as the basis for
    ·4· ·administrative action within the Army, but it's used for
    ·5· ·multiple things.· Over.
    ·6· ·Q· ·I want to take you back to Page 04010068, which at the
    ·7· ·top says Cadet Fleetwood Disenrollment Board Sequence of
    ·8· ·Events.· And then it says:· Note:· There was no voice
    ·9· ·recording; there is a rough transcription based off the use
    10· ·of the proscribed script and notes taken.
    11· · · · · · · ·Do you see that?
    12· ·A· ·Yes, I do.
    13· ·Q· ·And what are these proscribed scripts, what do they look
    14· ·like?
    15· ·A· ·There is a boilerplate script, and I don't remember if
    16· ·it's in the regulation.· I believe it is in a Cadet Command
    17· ·Regulation on how to conduct a Board to provide you a basic
    18· ·baseline and then a recorder is appointed and the recorder
    19· ·with a non-voting member of the Board will take notes and
    20· ·then they will draft up a rough transcript of the Board.
    21· ·Q· ·Do you know --
    22· ·A· ·Parts of it are actually pretty dictated when they read
    23· ·them their rights.· They have a statement.· When you read
    24· ·someone their rights it's exactly what's to say.
    25· ·Q· ·Do you know who recorded the information that begins on


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    ·1· ·Page 04010068 and continues to Page 04010089, do you know
    ·2· ·the name of the recorder?
    ·3· ·A· ·I was trying to look.· I'm going to assume it is in
    ·4· ·there somewhere.· I would have thought it was on that very
    ·5· ·first page you showed me, not of the transcript, but where
    ·6· ·we had the names of the Board members.· (Reading) Let's take
    ·7· ·a look in here.
    ·8· ·Q· ·For the record, we are now on Page 04010062 of your
    ·9· ·Declaration.
    10· ·A· ·If you can scroll down.· Scroll down to Page 4 of this
    11· ·document.· (Reading)· No.· I don't know.· I would assume
    12· ·it's somewhere in the record but I do not know who the
    13· ·recorder was from this.· Over.
    14· ·Q· ·Exhibit 5 to your Declaration, again it contains 133
    15· ·pages, over 30 exhibits.· I understand that the first two
    16· ·pages of Exhibit 5 are a memorandum signed by Colonel
    17· ·Stafford.· My question is do you know who compiled all the
    18· ·30 plus exhibits that are attached to this memorandum from
    19· ·Colonel Stafford?
    20· ·A· ·No.· The Board.· I don't know whether -- if I were the
    21· ·colonel I would have just one of the two captains do it but
    22· ·I do not know who put the packet together.· Possibly it's
    23· ·HRA, but speculation.· Over.
    24· ·Q· ·And since you're not sure, you probably don't know what
    25· ·system this individual used to compile all the different


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    ·1· ·exhibits to the memorandum signed by Colonel Stafford?
    ·2· ·A· ·That is correct.
    ·3· ·Q· ·And then Exhibit 5, the Disenrollment Board that
    ·4· ·referenced an Office of Equal Opportunity complaint dated
    ·5· ·June 13, 2019; correct?
    ·6· ·A· ·That's what that says, yes.
    ·7· ·Q· ·And we're now looking at Page 040100 of Exhibit 5 which
    ·8· ·has the first page of this Washington State University OEO
    ·9· ·report; correct?
    10· ·A· ·Yes.
    11· ·Q· ·And then this OEO report contains what are called
    12· ·findings of fact that begin on Page 04010105.· Do you see
    13· ·that?
    14· ·A· ·Yes.
    15· ·Q· ·Can we agree that this OEO report was part of the
    16· ·information the Washington State University considered as
    17· ·part of its disenrollment process for Mr. Fleetwood?
    18· · · · · · · ·MS. LEFING:· Objection.
    19· ·A· ·I have no knowledge what they considered.· I will attest
    20· ·that that appears to be a report from the Washington State
    21· ·University office.· What they did with it, I have no idea.
    22· ·I'm not privy to their administrative procedures at the
    23· ·University.
    24· ·Q· ·(BY MR. CROTTY)· So you don't know one way or the other
    25· ·whether Washington State University ROTC or the


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    ·1· ·Disenrollment Board considered the OEO report dated June 13,
    ·2· ·2019, you have no reason to know one way or the other?
    ·3· · · · · · · ·MS. LEFING:· Objection.
    ·4· ·A· ·That was not your original question.· Your original
    ·5· ·question was Washington State University.· I will tell you
    ·6· ·this is part of the Board packet, this document, so
    ·7· ·therefore, it was the Disenrollment Board saw this
    ·8· ·and knew this information.· You original question was did
    ·9· ·the University and I have no knowledge of University
    10· ·function.
    11· ·Q· ·(BY MR. CROTTY)· Thank you for that clarification.
    12· ·I appreciate that.· Just so we're clear, the Disenrollment
    13· ·Board for Patrick Fleetwood considered as part of its
    14· ·decision-making process this June 13, 2019, OEO report from
    15· ·Washington State University?
    16· ·A· ·It is --
    17· · · · · · · ·MS. LEFING:· Objection.
    18· ·A· ·It is a document that was presented to the Board.· How
    19· ·much they considered it I have no idea.· It is a piece of
    20· ·evidence that went to the Board.· The Board saw it.· Whether
    21· ·they considered it, I do not know the mental -- what they
    22· ·discussed, and I have no knowledge what was discussed by any
    23· ·members of the Board or what they looked at or how much
    24· ·weight they gave to any of the documents in this 100-plus
    25· ·page thing you gave.


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    ·1· ·Q· ·(BY MR. CROTTY)· Can you think of anything other than
    ·2· ·Finding 27 of the June 13, 2019, OEO report which is
    ·3· ·reflected on Page 11 of 18 on the OEO report, also numbered
    ·4· ·04010110, can you think of anything other than that
    ·5· ·Paragraph 27 that is being referenced on Page 04010078 of
    ·6· ·the report of the disenrollment proceedings?
    ·7· · · · · · · ·MS. LEFING:· Same objection.
    ·8· ·Q· ·(BY MR. CROTTY)· Go ahead and answer.
    ·9· ·A· ·Having not read any of this document, and if I skimmed
    10· ·it that was two and a half years ago, but I can tell you I
    11· ·didn't read it.· If that is the only reference to videos, a
    12· ·reasonable man might assume it was the same one.· But can I
    13· ·testify precisely that it exactly is.· No.
    14· ·Q· ·You're not aware of any other source of information
    15· ·other than Paragraph 27 of this June 13, 2019, OEO report
    16· ·where the issue of Mr. Fleetwood sending inappropriate
    17· ·videos was brought to light before the Disenrollment Board?
    18· · · · · · · ·MS. LEFING:· Objection.
    19· ·A· ·As I said, having not read the 110-page plus, I don't
    20· ·know if there are multiple references to videos besides that
    21· ·document.· So if there were, there could be confusion.· So
    22· ·if this is the only single one, one might assume they are
    23· ·the same.
    24· ·Q· ·(BY MR. CROTTY)· I am now going to take you to Exhibit
    25· ·No. 9 of your Declaration.· Can you tell us what we're


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    ·1· ·A· ·Yes.
    ·2· ·Q· ·And then Mr. Fleetwood replies:· No.· They did not
    ·3· ·provide me any additional documents, which I know they have
    ·4· ·because I saw them when I visited their office.· I feel they
    ·5· ·are very unhelpful in helping me defend myself in
    ·6· ·participating in the bias investigation against me.
    ·7· · · · · · · ·Did I read that correctly?
    ·8· ·A· ·You read it correctly.· Yes.
    ·9· · · · · · · ·MR. CROTTY:· Let me take a couple minutes and
    10· ·look through my notes and we should be done unless the State
    11· ·Attorney has any questions for you.· Off the record.
    12· · · · · · · · · · · · · ·(A brief pause is taken.)
    13· · · · · · · · · · · · · ·(It is now 9:59 a.m.)
    14· · · · · · · ·MR. CROTTY:· Back on the record.
    15· ·Q· ·(BY MR. CROTTY)· Going back to Page 00010070, which is
    16· ·the Exhibit 5 to your Declaration.· Mr. Fleetwood is telling
    17· ·Colonel Stafford that he did not receive all the information
    18· ·from Washington State University.· Is that a fair summary of
    19· ·what Mr. Fleetwood is saying?
    20· ·A· ·Yes.· Whether it's accurate or not, I don't know.
    21· ·Q· ·Are you aware of, setting Mr. Fleetwood's contention
    22· ·aside, are you aware of any other instance in your time with
    23· ·the ROTC where a cadet accused of any misconduct requests
    24· ·information from his or her university in preparation for a
    25· ·Disenrollment Board and doesn't receive all of that


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    ·1· ·information, are you aware any other instance other than
    ·2· ·what Mr. Fleetwood is alleging here?
    ·3· · · · · · · ·MS. LEFING:· Objection.
    ·4· ·A· ·I couldn't tell you.· I can't answer that.· Don't know.
    ·5· · · · · · · ·MR. CROTTY:· I don't have any other questions at
    ·6· ·this time.· Thank you, sir.
    ·7· · · · · · · · · · · · · ·EXAMINATION
    ·8· · · · · · · ·MS. LEFING:· I have some questions.
    ·9· ·BY MS. LEFING:.
    10· ·Q· ·Good morning, Mr. Patterson.· For the record, my name is
    11· ·Debra Lefing.· I am an Assistant Attorney General
    12· ·representing Washington State University.
    13· · · · · · · ·Can you please tell us what your current
    14· ·position is in the Army?
    15· ·A· ·I'm a Federal Employee GS14.· I am the Director of
    16· ·Operations for the ROTC Brigade that is located at Joint
    17· ·Base Lewis McChord, Washington.· We have the ROTC programs
    18· ·from Montana to Guam at the college level.· Over.
    19· ·Q· ·How many years have you been in this position?
    20· ·A· ·Since I retired as a full Colonel with the ROTC since --
    21· ·well, I have been a GS employed with ROTC since 2005 when
    22· ·they reorganized the structure they changed the position, to
    23· ·be honest, 2018 or 2019, I don't remember when exactly we
    24· ·did the structure change and my title changed.
    25· ·Q· ·You said you were in the Army; correct?


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    ·1· ·A· ·I had been for thirty years.
    ·2· ·Q· ·And your last position was that of a colonel?
    ·3· ·A· ·I was Chief of Staff of the western region ROTC here in
    ·4· ·Fort Lewis as a full Colonel 06 in grade.
    ·5· ·Q· ·What were your job duties in that position?
    ·6· ·A· ·We oversaw -- as the Chief of Staff I oversaw the region
    ·7· ·staff and at that time we oversaw the ROTC programs
    ·8· ·everywhere from Pensacola, Florida, north to Michigan to
    ·9· ·Guam.· We have 145 host universities and over 200 extensions
    10· ·and we ran -- we supervise ROTC's from Pensacola, Florida,
    11· ·to Guam.
    12· ·Q· ·Can we talk about your current position now.· What are
    13· ·your job duties at Joint Fort Lewis McChord, am I saying
    14· ·that correctly?
    15· ·A· ·Joint Base Lewis McChord.· Come on now, you're in
    16· ·Olympia.
    17· ·Q· ·At JBLM.
    18· ·A· ·I'm not trying to be factitious at all.· I'm the No. 2
    19· ·person in the brigade.· There's always a military person in
    20· ·charge, a full colonel.· So when I retired my duties are
    21· ·what I want to make them.· I visit the schools, I provide
    22· ·advice and guidance.· I oversee their problem areas.· I help
    23· ·them with civilian employment.· I help them with whatever
    24· ·they need.· In reality I have a very, very nebulous job
    25· ·description that being the No. 2 guy in the organization


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    ·1· ·kind of allows me to do what I want when I want.· Over.
    ·2· ·Q· ·Well, can you explain then what your duties are with
    ·3· ·regard to providing public records?
    ·4· ·A· ·Oh.· I don't have any formal duties.· How this occurred
    ·5· ·was when the request hit Washington State the PMS's defaults
    ·6· ·to my experience to do a lot.· I believe I said give my
    ·7· ·name.· Normally, I mean, I just had them print them off.
    ·8· ·It's very easy.· To take the administrative burden off some
    ·9· ·of my guys I said I'll hold them and sign them over.· The
    10· ·reason I am listed on this is, again, they were in my office
    11· ·and I'm the guy that gave them to you all in response to the
    12· ·subpoena.· I kind of interface with some of the Cadet
    13· ·Command, the lawyers there since I know who to call to make
    14· ·sure I could do that and could release them.· I deal with a
    15· ·lot of the legal actions with them.· So I contacted them.
    16· ·They said yes, once you get a subpoena in writing.· And we
    17· ·have no problem providing you with a copy of the
    18· ·disenrollment packet.· It was just a matter I had to have
    19· ·the written request, not just a verbal.
    20· ·Q· ·So with regard to Fleetwood's records, who did you
    21· ·receive those records from?
    22· ·A· ·I believe my clerk next door, a guy named Steve
    23· ·Remillard.· He just went into the system and just printed
    24· ·them off for me.
    25· ·Q· ·When you say system what are you referring to?


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    ·1· ·A· ·I what?
    ·2· ·Q· ·You tell the truth?
    ·3· ·A· ·Yes.
    ·4· ·Q· ·And you would sign things with your signature that
    ·5· ·stated the truth; correct?
    ·6· ·A· ·Yes.
    ·7· ·Q· ·Mr. Patterson, were you on Mr. Fleetwood's Disenrollment
    ·8· ·Board?
    ·9· ·A· ·No.
    10· ·Q· ·Did you have any role in Mr. Fleetwood's disenrollment?
    11· ·A· ·I believe my only role was I had the authority to tell
    12· ·the other three schools to provide a name to Washington
    13· ·State University to serve on the Board.· Other than that,
    14· ·that is the only role I had.· And I probably selected the
    15· ·PMS Stafford to be the Board President of the three schools.
    16· ·Q· ·Were you involved in any decision making with regard to
    17· ·the disenrollment of Mr. Fleetwood?
    18· ·A· ·Absolutely not.
    19· ·Q· ·Did you draft any of the documents in your Declaration?
    20· ·A· ·Negative.
    21· ·Q· ·Were you involved in any part of Washington State
    22· ·University's investigation of Mr. Fleetwood?
    23· ·A· ·Not the University's not at all, nor the ROTC Department
    24· ·anything they did, other than helping them to find people to
    25· ·appointment to run the Board.


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    ·1· · · · · · · ·MS. LEFING:· I'm looking over my notes for one
    ·2· ·second.· I have no further questions.· Thank you, Mr.
    ·3· ·Patterson.
    ·4· · · · · · · · · · · · ·EXAMINATION
    ·5· · · · · · · ·MR. CROTTY:· One follow-up really quick.
    ·6· ·BY MR. CROTTY:
    ·7· ·Q· ·Have you taken any steps to check the accuracy of any of
    ·8· ·the documents contained in your Declaration?
    ·9· ·A· ·No.· They were provided to me by my trusted guy who
    10· ·downloaded them.
    11· ·Q· ·Do you know if your trusted guy who has downloaded them
    12· ·has taken any steps to independently confirm the accuracy of
    13· ·any of the documents?
    14· ·A· ·He can confirm that they are what is in ACA.
    15· · · · · · · ·MR. CROTTY:· I don't have any other questions.
    16· ·Thank you, sir.· I appreciate it.
    17· · · · · · · ·THE COURT REPORTER:· Mr. Crotty, will you be
    18· ·ordering up this transcript?
    19· · · · · · · ·MR. CROTTY:· Yes.· And then how fast can you --
    20· ·what's your usual turnaround time?
    21· · · · · · · · · · · · · ·(Discussion off the record.)
    22· · · · · · · ·THE COURT REPORTER:· What are you looking at?
    23· · · · · · · ·MR. CROTTY:· I just need it by April 25.
    24· · · · · · · ·THE COURT REPORTER:· That's no problem.
    25· · · · · · · ·MS. LEFING:· I'd like a copy too.


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    ·1· ·STATE OF WASHINGTON )
    · · · · · · · · · · · · ·:· ·ss:· ·REPORTER'S CERTIFICATE
    ·2· ·COUNTY OF SPOKANE· ·)

    ·3

    ·4· · · · · · · · · · · ·I, d'Anne Meyers, a notary public in and

    ·5· ·for the State of Washington, do hereby certify:

    ·6· · · · · · · · · · · ·That the foregoing deposition of DAN

    ·7· ·PATTERSON was taken on the date and at the time and place as

    ·8· ·shown on Page 1 hereto;

    ·9· · · · · · · · · · · ·That the witness was sworn upon his oath

    10· ·to tell the truth, the whole truth and nothing but the truth

    11· ·and did thereafter make answers as appear herein;

    12· · · · · · · · · · · ·That the foregoing is a true and correct

    13· ·transcription of my shorthand notes of the requested

    14· ·deposition transcribed by me or under my direction;

    15· · · · · · · · · · · ·That the witness' signature was waived.

    16

    17· · · · · · · · · · · ·My hand this 4th day of April 2022.

    18

    19
    · ·   ·   ·   ·   ·   ·   ·   ·   ·   ·   ·   ·   ____________________________________
    20·   ·   ·   ·   ·   ·   ·   ·   ·   ·   ·   ·   · · D'ANNE MEYERS,
    · ·   ·   ·   ·   ·   ·   ·   ·   ·   ·   ·   ·   · · CCR No. WA 2478
    21·   ·   ·   ·   ·   ·   ·   ·   ·   ·   ·   ·   · · The State of Washington

    22

    23

    24

    25


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 From:            Matthew Crotty
                                                                                                                   1
                                                                                                             Patterson 3-31-22
 To:              Patterson, Dan B CIV USARMY USACC (USA)
 Cc:              Goblirsch, Timothy G (Tim) CIV USARMY USAG (USA); Babri, Ingrid J CPT USARMY USACC (USA)
 Subject:         Following Up - Fleetwood v. WSU - Deposition
 Date:            Tuesday, March 15, 2022 4:56:59 PM


 Dan,

 Thanks for the note and for not being too harsh on my POG status. FWIW I’m not a matter lawyer
 either but that’s a different discussion for a different day.

 Let’s shoot for 9 AM PST on March 31st. It should not take long. I’ll send you a Zoom link for the
 deposition.

 Tim/Ingrid – can you please let me know if you have any issues with me emailing Mr. Patterson a
 deposition subpoena? If that won’t work please let me know the name/address of the person who
 you want personally served with the subpoena.

 RLTW!

 Matt

 Matthew Z. Crotty
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 From: Patterson, Dan B CIV USARMY USACC (USA) <dan.b.patterson.civ@army.mil>
 Sent: Tuesday, March 15, 2022 1:54 PM
 To: Matthew Crotty <matt@crottyandson.com>
 Cc: Goblirsch, Timothy G (Tim) CIV USARMY USAG (USA) <timothy.g.goblirsch.civ@army.mil>; Babri,
 Ingrid J CPT USARMY USACC (USA) <ingrid.j.babri.mil@army.mil>
 Subject: Fleetwood v. WSU - Deposition

 Mr. Crotty:

       After looking at my calendar, any time on 29 or 31 March will work for me for
 the Deposition. So send me a time that works for you. As I mentioned to you on
 the phone, the only reason my name is on those records is I had the ROTC program
 at WSU send me the records as an intermediary to package them to provide to the
 State AG’s office responding to their subpoena for records. I have never met the
 Cadet, nor did I participate in any disenrollment board, and as of today I haven’t even
 looked at the packet of material I provided the State AG’s office, so my deposition is
Case 2:20-cv-00355-SAB         ECF No. 58-1       filed 04/25/22    PageID.2651 Page 32 of 33


 going to be fairly boring. You have my cell number and my email.

 Tim/Ingrid:

 Mr. Crotty is the attorney representing a former Cadet Fleetwood in a lawsuit against
 Washington State University (not ROTC, but the school itself), but the disenrollment
 of the Cadet is part of suit. I acted as a “way-station” back in January obtaining the
 disenrollment packet from WSU ROTC to provide to the state AG’s office which had
 subpoenaed them. CPT Babri had sent me emails on this back on 17 November and
 you sent an email on 10 Nov. Anyway, Mr. Crotty is going to have to subpoena me
 to testify and he wants to know if it should go thru ya’ll or can he send it straight to
 me. Again, I have no problem telling him all I did was collect a copy of the packet
 from the school and give it to the AG’s office. I thought I might have kept a copy on
 my computer but then remember I had them sent to me hard copy and I gave that to
 the state, so I really have no knowledge of this case. Can he send me the
 subpoena directly or do you want him to send it to you to review it first?. FYI – Mr.
 Crotty is a product of the Gonzaga Army ROTC program (Class of 97), even served in
 the Ranger Regt. so for a lawyer he’s not all bad! (and he liked my one lawyer joke!)
 - - although he did go MI as a branch and not combat arms /

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 From: Matthew Crotty <matt@crottyandson.com>
 Sent: Tuesday, March 15, 2022 12:13 PM
 To: Patterson, Dan B CIV USARMY USACC (USA) <dan.b.patterson.civ@army.mil>
 Cc: Lefing, Debra (ATG) <debra.lefing@atg.wa.gov>
 Subject: [URL Verdict: Neutral][Non-DoD Source] Fleetwood v. WSU - Deposition

 All active links contained in this email were disabled. Please verify the identity of the sender,
 and confirm the authenticity of all links contained within the message prior to copying and
 pasting the address to a Web browser.



 Hi Mr. Patterson,

 My name is Matt Crotty and I’m the lawyer representing Patrick Fleetwood in a lawsuit against
 Washington State University. As you probably know WSU’s attorney (Debra Lefing, cc’d) filed a
 declaration with the Court.
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 I would like to schedule your deposition for March 29, 30, or 31. It will be via Zoom. I anticipate it
 taking between two and three hours.

 Can you please advise me as to your availability ASAP?

 Thanks,

 Matt

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